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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        SA CV 21-00465-DOC- (DFMx)                                 Date: September 9, 2021
 Title           James Rutherford v. DMI Harbor Hills, LLC, et al.




 Present: The Honorable:        DAVID O. CARTER, UNITED STATES DISTRICT JUDGE


                     Karlen Dubon                                     Not Reported
                     Deputy Clerk                               Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                  Osman Taher                                        Raymond Park




 PROCEEDINGS: SCHEDULING CONFERENCE ( Held and Continued)

 Outside the presence of the court reporter, Court and counsel confer.

 The Scheduling Conference is continued to September 23, 2021 at 7:30 a.m.




                                                                                                 : 22
                                                                    Initials of Preparer   kdu




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